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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                   EASTERN DIVISION


    LEE WIGOD, individually and on behalf of
    all other similarly situated,
                                                      Case No. 1:19-cv-06953
                           Plaintiff,                 Hon. Martha M. Pacold

    v.

    CALLFIRE, INC., a Delaware corporation,

                          Defendant.


         REPLY IN SUPPORT OF MOTION TO QUASH SUBPOENA TO LORI WIGOD

           To hear CallFire tell it, “CallFire does not and cannot maintain reports on either consent

or its withdrawal,” and supposedly “it must determine through discovery what the plaintiff or his

wife did or did not do in order to defend itself against the lawsuit brought by Mr. Wigod.” (Dkt.

11 at 3.) In other words, CallFire contends (without any evidence) that prior express written

consent may have been secured by one or more of its subscribers to send the text messages that

were sent to Mr. Wigod via CallFire’s short-code even after he opted-out by replying “Stop”.1

           Yet, incredibly, CallFire has decided to subpoena non-party Lori Wigod to sit for a

deposition, have her phone and computers mapped, and produce a vast amount of personal and

completely irrelevant documents spanning years instead of simply asking its own subscribers for



1Prior express written consent is an affirmative defense, to which CallFire bears the burden. See,
e.g., Grant v. Capital Mgmt. Srvs., L.P., No. 11-56200, 2011 WL 3874877, at *1 n.1. (9th Cir.
Sept. 2, 2011) (“‘express consent’ is not an element of a TCPA plaintiff’s prima facie case, but
rather is an affirmative defense for which the defendant bears the burden of proof.); see also
Evankavitch v. Green Tree Servicing, LLC, 793 F.3d 355, 366 (3d Cir. 2015) (recognizing that
courts place the burden on the caller of showing prior express consent to have made the call as an
affirmative defense).
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any proof of prior express written consent they may have obtained. “A subpoena may be quashed

or limited by the district court when ‘the discovery sought is unreasonably cumulative or

duplicative, or can be obtained from some other source that is more convenient, less

burdensome, or less expensive’ or when the burden of the proposed discovery outweighs its

likely benefit.” Ameritox, Ltd. v. Millennium Labs., Inc., No. 12-CV-7493, 2012 WL 6568226, at

*2 (N.D. Ill. Dec. 14, 2012). (emphasis added).

       This is precisely the case here. CallFire’s subpoena commands Mrs. Wigod to produce:

(1) all phone bills and call logs for every phone number that she has owned for the past four

years; (2) all of her internet browsing history related to health insurance and home warranties

over the last two years; (3) all emails she has received relating to health insurance and home

warranties over the last four years; (4) all documents reflecting any time that Mrs. Wigod may

have provided personal information in pursuit of offers for health insurance or home warranties;

(5) all consent forms that she may have completed over the last two years related to health

insurance or home warranty offers; (6) all requests that she may have made for insurance or

home warranty offers over the last two years; (7) all emails and text messages she may have

received after entering her information into a website related to insurance or home warranties

over the last four years; and (8) for inspection, all “servers, computers, tablets, cellular and

landline telephones, routers, wireless network equipment, reporting systems, databases, and the

equivalent” that she has used over the last two years in relation to three different phone numbers.

       CallFire’s subpoena would require Mrs. Wigod to sit for a deposition and bear the burden

of searching for and producing a large amount of documents (many of them of a personal nature)

wholly unrelated to her husband’s lawsuit against CallFire simply so CallFire can go on a fishing

expedition and search for any proof of prior express written consent her husband may have




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provided. Curiously, CallFire refuses to simply ask its subscribers for any such proof. In fact,

Mr. Wigod is the one who has subpoenaed CallFire’s subscribers to ask whether any proof of

prior express written consent exists. (See “Subpoenas Served in California Class Action,”

attached hereto as Exhibit A.)

       Simply put, Mrs. Wigod’s documents, devices, and personal browsing history are not

relevant to the dispute between her husband and CallFire. To the extent CallFire believes it needs

to determine whether Mrs. Wigod provided some sort of prior express written consent on behalf

of her husband to receive the text messages CallFire sent to him, CallFire has less burdensome

and convenient sources of such information—it can ask its own clients for any proof of consent

they obtained. CallFire has not done this, for reasons known only to it. But Mr. Wigod has

requested such information via subpoenas and will provide CallFire with any responsive

documents he receives. This is sufficient to provide CallFire with the information it seeks via the

subpoena to Mrs. Wigod. There is simply no need for Mrs. Wigod to bear the significant burden

and expense of complying with CallFire’s subpoena, and the Motion to Quash should be granted.



Dated: October 25, 2019                       Respectfully submitted,

                                              Lori Wigod

                                              By: /s/ Steven L. Woodrow


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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 25, 2019, I served the above and
foregoing papers by causing such paper to be filed with the Court using the Court’s electronic
filing system, which will serve copies of such paper to all counsel of record via electronic mail.


                                              /s/ Steven L. Woodrow




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